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                           UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                MARSHALL DIVISION

NETLIST, INC.,

      Plaintiff,

              v.                                       Case No. 2:21-cv-463-JRG

SAMSUNG ELECTRONICS CO., LTD.,                         JURY TRIAL DEMANDED
SAMSUNG ELECTRONICS AMERICA,
INC., SAMSUNG SEMICONDUCTOR,
INC.,
       Defendants.



               JOINT NOTICE REGARDING REDACTIONS TO DKT. 550

       Pursuant to the Court’s direction, Plaintiff Netlist, Inc. Defendant Samsung Electronics

Co., Ltd, Samsung Electronics America, Inc., and Samsung Semiconductor, Inc. have met and

conferred and do not propose any redactions to the Court’s Memorandum and Order Supported By

Findings of Fact and Conclusions of Law (Dkt. 550). A complete, un-redacted version of the Order

is attached as Exhibit A.



       Respectfully submitted,

Dated: August 21, 2023                                /s/   Jason G. Sheasby

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                              CERTIFICATE OF SERVICE

       I hereby certify that a true and correct copy of the foregoing document was filed

electronically and are being served through the Court’s CM/ECF system.

                                                         /s/ Yanan Zhao
                                                         Yanan Zhao
